
644 S.E.2d 364 (2007)
STATE of North Carolina
v.
Pierre Torez-Omar FARRAR.
No. 527PA06.
Supreme Court of North Carolina.
March 8, 2007.
David L. Elliott, Assistant Attorney General, R. Stuart Albright, District Attorney, for State of NC.
James R. Parish, Fayetteville, for Farrar.

ORDER
Upon consideration of the petition filed by Attorney General on the 4th day of October 2006 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 8th day of March 2007."
Upon consideration of the petition filed on the 4th day of October 2006 by Attorney General in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 8th day of March 2007."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
